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                                                                             Scott A. Sydelnik
                                                                                       Partner


                                          May 4, 2018

   Honorable Cecilia G. Morris
   United States Bankruptcy Court
   Southern District
   355 Main Street
   Poughkeepsie, NY 12601-3315

          In Re: Richard B. Colletti
          Premises:    137 Bull Mill Road
                       Chester, NY 10918
          Case No.:    16-35143
          Chapter      13

   Dear Sir or Madam:

          Our firm represents Shellpoint Mortgage, Inc.

   This letter is to confirm that the Loss Mitigation hearing scheduled to be heard on May 8,
   2018 at 9:30 a.m. has been adjourned on consent to June 19, 2018 at 9:30 a.m.


                                                         Very truly yours,

                                                         DAVIDSON FINK LLP


                                                         /s/ Carla Augino
                                                         Carla Augino
                                                         Paralegal


   cc:    Richard Scott Zirt, Esq. via ECF
          Krista M. Preuss, Esq. – Trustee via ECF
          United States Trustee via ECF




   28 East Main Street, Suite 1700 | Rochester, New York 14614 | 585-546-6448 | davidsonfink.com
            ssydelnik@davidsonfink.com | direct phone 585-760-2348 | fax 585-784-8917
